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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

                     CIVIL ACTION NO: 3:20-cv-17- JBT

MERLIN KAUFFMAN, an individual
    Plaintiff,

v.

TRANS HIGH CORPORATION, a New
York company and HIGH TIMES HOLDING
CORPORATION, a Delaware company
      Defendant.
                              /

      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR
     EXTENSION OF TIME TO COMPLY WITH FINAL JUDGEMENT

        Plaintiff, Merlin Kauffman (the “Plaintiff”), by and through undersigned

counsel, hereby file this Opposition to Defendants’ Trans High Corporation and

High Times Holding Company (collectively, “Defendants”) Motion for Extension

of Time Comply With Final Judgement (ECF 151).

     On March 29, 2023, this Court entered a Final Judgment in favor of Plaintiff.

(ECF 150). It specified the following findings:

     Judgment is hereby entered in favor of Plaintiff and against Defendants,
     jointly and severally, in the amount of $380,000.00 which sum is comprised
     of the following components:
     i. Defendants shall return $307,500.00 to Plaintiff, reflecting the sum
     paid as a deposit on behalf of Plaintiff to Defendants in late December
     2019 and which continues to be held by Defendants as a deposit for
     Plaintiff’s intended purchase of the domain www.420.com (the
     “Domain”).
     ii. Defendants shall pay to Plaintiff the amount of $72,500.00
     constituting the negotiated amount of pre-settlement interest,
     attorneys fees, and expenses pursuant to the Settlement Agreement.
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   c. Defendant High Times shall issue the greater of 5,000 units of common
   stock or the amount of stock units of High Times Holding Corporation’s
   common stock valued at $55,000 on the date of issuance.
   d. Defendants shall pay the full cost of the mediation fee charged by Mediator
   Terrance E. Schmidt, said fee not to exceed three thousand one hundred fifty
   dollars ($3,150.00), for the mediation that occurred on November 22, 2022.1
   e. This judgment shall accrue post judgment interest from the date of entry at
   the statutory rate set forth in 28 U.S.C. § 1961.
   f. Plaintiff shall be entitled to costs and reasonable attorneys’ fees incurred by
   Plaintiff in seeking the enforcement of the Settlement Agreement and entry
   of judgment. The Court reserves jurisdiction and ruling to determine any
   request for attorneys fees and costs pursuant to a timely filed motion under
   Federal Rule of Civil Procedure 54 and Local Rule 7.01.
   g. Defendants shall complete, under oath, Florida Rule of Civil Procedure
   Form 1.977 (Fact Information Sheet), including all required attachments,
   and serve it on Plaintiff's attorney within sixty (60) days from the date of this
   final judgment, unless the terms identified in sections b, c, and d above are
   satisfied before that time, or post-judgment discovery is stayed.
   h. The Court retains jurisdiction to enter further orders to enforce the
   Settlement Agreement, and the terms of this Judgment.


   As stated in the Final Judgment, this Court has retained jurisdiction on this

matter to enter further orders and enforce the terms of the Judgment. To date,

Defendants have not complied with any of the required actions detailed in the

Final Judgment Order. Instead, at 5:35 p.m. on May 30, 2023, the 60-day deadline

to serve the Fact Information Sheets for each Defendant, the undersigned received

a phone call from counsel for Defendants asking for a 30-day extension of time.

The undersigned explained that Plaintiff’s position on such a motion at such a late

hour in the business day could not reasonably be expected. Defendants followed

up that communication with the Motion for Extension of time, lowering the time

period to a requested 14-day extension. On May 31, 2023, the undersigned offered

through email to counsel for the Defendants that Plaintiff would agree to the
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extension of time, if Defendants “tenders the stock (with proof), provides proof of

payment to the mediator and submits the fact information sheet in the next

business day in good faith providing the basic information at its ready disposal and

indicating those items which it needs to amend.” Defendants counsel never

responded to this followup email to the meet and confer and did not comply with

any of their obligations stated in the Final Judgment Order. Defendants’ Motion

for Extension of Time does not relieve Defendants of their obligation to comply

with the Court’s Orders.

       A motion for extension of time is not self-executing; no motion is,
   unless expressly provided for by the applicable rule. See In re River
   Ridge Ranch, Inc., 347 B.R. 65, 69 (Bankr. S.D. Ohio 2006) (noting
   motions for protective order are not self-executing); Vanhorn v.
   Behavioral Support Servs., Inc., 2008 WL 552646, at *1 (M.D. Fla. Feb.
   27, 2008) (noting motions to withdraw are not self-executing). Yet, by
   filing these motions on or near the last day, and then sitting idle
   “pending the Court’s disposition of the motion,” parties essentially grant
   their own motion. The Court will not condone this.
Compere v. Nusret Miami, LLC, 19-CV-20277, 2020 WL 2844888, at *2 (S.D. Fla.

May 7, 2020).

   Defendants have continually found excuses and delay tactics at every stage of

this matter. This is yet another set of excuses for failure to comply with this Court’s

Final Judgement Order. Defendants’ prior delays and excuses resulted in multiple

extensions and continuations of this matter. (See e.g ECF 141, 143, 145, 147)

Ultimately, Plaintiff simply would not wait any longer, and trigger the default

provision of the Settlement Agreement, resulting in Plaintiff’s Motion for Final

Judgment.

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   The Defendants failed to initiate the wire transfer of the original Settlement

Payment by February 21, 2023 and since the issuance of the Final Judgment have

not paid any of the required sums. This is a pattern. Defendants have not provided

the additional stock units consideration as required under the Second Addendum

or the Final Judgment, nor as promised in the Motion for Extension of Time. This

is a pattern. Defendants have not paid the mediator as required under the

Settlement Agreement or the Final Judgment, nor as promised in the Motion for

Extension of time. This is a pattern.

   Aside from not being relived from its obligations under the Final Judgment

Order, the purported reasons for Defendants failure to comply are insufficient.

Defendants had 60 days to complete the Fact Information Sheets. There are two

separate corporate Defendants, and their Motion for Extension of time fails to

provide good cause for such an extension as to each Defendant. Instead, the first

excuse is that the controller (purportedly of both corporations) was unavailable

due to COVID. Respectfully, Defendants had 60 days to provide these Fact

Information Sheets, and the tolerance of COVID excuses is starting to wear thin.

Plaintiff is sympathetic to medical concerns and conditions, however the second

excuse shows that the first excuse is insufficient. Specifically, Defendants allege

that over the past 4-6 weeks they have been under audit from the SEC. This SEC

excuse actually cuts against the delay. Defendants must be gathering all the same

financial information required in Fact Information Sheets that are being requested

by the SEC. A copy of the Fact information Sheet is attached hereto as Exhibit A.
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The categories of documents and topics required from the Fact Information Sheet

for a business entity should have been readily available for entities that regularly

file SEC documents. It strains credibility that they had none of this information or

documents available. Nonetheless, Defendants were given 60 days to compile and

provide the responses and documents. This delay tactic should not be tolerated by

Defendants.

      In light of Defendants violation of this Court’s Final Judgment Order, the

motion should be denied and Defendants should be sanctioned. This Court has

inherent power to enforce compliance with its lawful Orders. See United States v.

Barnette, 129 F.3d 1179, 1182 n.7 (11th Cir. 1997) (citing Citronelle-Mobile

Gathering, Inc. v. Watkins, 943 F.2d 1297, 1301 (11th Cir. 1991)); Popular Bank of

Florida v. Banco Popular De Puerto Rico, 180 F.R.D. 461, 465 (S.D. Fla. 1998)

(“The court's power to enforce compliance with its lawful orders is inherent.”); see

also Francisco Gonzalez v. San Sebastian Custom Woodwork Corp., No. 12-

21804-CIV, 2017 WL 11220381, at *3 (S.D. Fla. Feb. 14, 2017), report and

recommendation adopted sub nom. Gonzalez v. San Sebastian Custom

Woodwork Corp., No. 1:12-CV-21804-UU, 2017 WL 11220382 (S.D. Fla. Mar. 1,

2017)(Imposing a $100 per day fine until Defendant complied with the Court’s

Order compelling the production of a Completed Fact Information Sheet).

   Such sanctions should come in the form of holding Defendants in contempt and

imposing a daily fine until compliance is met. Corporations may be held in civil

contempt. See Rodriguez v. Kreative Therapy & Rehab Ctr., Inc., No. 15-20243-
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CIV, 2015 WL 13776450, at *2 (S.D. Fla. Oct. 15, 2015), report and

recommendation adopted, No. 15-20243-CIV, 2015 WL 13776449 (S.D. Fla. Dec.

1, 2015). “[T]he Court determined that Defendants had not complied with the

Court's Orders [regarding post judgment completion of Fact Information Sheets]

…. and the judgment remained unsatisfied….” Brewfab, LLC v. 3 Delta, Inc., No.

8:20-CV-2031-VMC-SPF, 2022 WL 18492706, at *1 (M.D. Fla. Nov. 18, 2022).

   For all these reasons, Plaintiff requests that the Court Deny Defendants’ Motion

for Extension of Time and issue the appropriate sanctions for failing to comply

with the Court Final Judgment Order.



   June 2, 2023                Respectfully Submitted:



/s/ Darren Spielman
Darren Spielman, Esq.
(FL Bar No 10868)
DSpielman@Conceptlaw.com
Robert C. Kain, Jr., Esq.
(FL Bar No. 266760)
RKain@Conceptlaw.com
The Concept Law Group, P.A.
6400 N. Andrews Ave., Suite 500
Fort Lauderdale, Fl 33309
ph: 754-300-1500
Counsel for Plaintiff




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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 2, 2023, that the foregoing document is
being filed via ECF which served same on all counsel of record identified below on
the Service List via email.


                               By:   /s/Darren Spielman
                                     Darren Spielman

Jesse A. Haskins
Fla. Bar No. 78974
Jesse@jhaskinslaw.com
J Haskins Law, PA
10437 Canary Isle Drive
Tampa, Florida 33647
Telephone: (919)667-4689
Attorney for Defendants




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               EXHIBIT A
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           FACT INFORMATION SHEET - BUSINESS ENTITY


Name of entity:
Name and title of person filling out this form:
Telephone number:
Place of business:
Mailing address (if different):
Gross/taxable income reported for federal income tax purposes last three years:
$                                 $                               $
Taxpayer Identification number:
Is this entity an S corporation for federal income tax purposes?  _______Yes _______ No
Average number of employees per month
Name of each shareholder, member, or partner owning 5% or more of the entity's common stock,
preferred stock, or other equity interest:


Names of officers, directors, members, or partners:

Checking Account at:                                   Account #
Savings Account at:                                    Account #
Does the entity own any vehicles? __________Yes       __________No
For each vehicle please state:
Year/Make/Model:                                                       Color:
Vehicle ID No:                                          Tag No.:
Mileage:
Names on Title:                                                    Present Value: $____________
Loan Owed to:
Balance on Loan: $                                      Monthly Payment: $
Does the entity own any real property?                 Yes                 No
If yes, please state the address(es):

Please check if the entity owns the following:
            Boat
            Camper
            Stocks/bonds
            Other real property
            Other personal property
Please attach copies of the following:
1. Copies of state and federal income tax returns for the past 3 years.
2. All bank, savings and loan, and other account books and statements for accounts in institutions in
which the entity had any legal or equitable interest for the past 3 years.
3. All canceled checks for the 12 months immediately preceding the service date of this Fact
Information Sheet for accounts in which the entity held any legal or equitable interest.
4. All deeds, leases, mortgages, or other written instruments evidencing any interest in or
ownership of real property at any time within the 12 months immediately preceding the date this
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lawsuit was filed.
5. Bills of sale or other written evidence of the gift, sale, purchase, or other transfer of any
personal or real property to or from the entity within the 12 months immediately preceding the date
this lawsuit was filed.
6. Motor vehicle or vessel documents, including titles and registrations relating to any motor
vehicles or vessels owned by the entity alone or with others.
7. Financial statements as to the entity's assets, liabilities, and owner's equity prepared within the
12 months immediately preceding the service date of this Fact Information Sheet.
8. Minutes of all meetings of the entity's members, partners, shareholders, or board of directors
held within 2 years of the service date of this Fact Information Sheet.
9. Resolutions of the entity's members, partners, shareholders, or board of directors passed within
2 years of the service date of this Fact Information Sheet.

UNDER PENALTY OF PERJURY, I SWEAR OF AFFIRM THAT THE FOREGOING
ANSWERS ARE TRUE AND COMPLETE.


                                                        Judgment Debtor's Designated
                                                        Representative/Title



STATE OF FLORIDA
COUNTY OF ____________________

          Sworn to (or affirmed) and subscribed before me this ____ day of __________, 20 ___,
by ______________________________________.
       (name of person making statement)


                                                        Notary Public State of Florida
                                                        My Commission expires: _______________

Personally known __________OR Produced identification ______________
Type of identification produced

YOU MUST MAIL OR DELIVER THIS COMPLETED FORM, WITH ALL ATTACH-
MENTS, TO THE PLAINTIFF JUDGMENT CREDITOR OR THE PLAINTIFF'S
JUDGMENT CREDITOR'S ATTORNEY, BUT DO NOT FILE THIS FORM WITH
THE CLERK OF THE COURT.
